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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Western Division

Patrick Pursley
                                 Plaintiff,
v.                                                   Case No.: 3:18−cv−50040
                                                     Honorable Philip G. Reinhard
City of Rockford, et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 3, 2020:


        MINUTE entry before the Honorable Lisa A. Jensen: Plaintiff's motion to take
deposition of incarcerated witness Marvin Windham [162] is unopposed and granted. The
parties are given leave to depose incarcerated individual, Mr. Windham, pursuant to
Federal Rule of Civil Procedure 30(a)(2)(B). Parties are permitted to depose Mr.
Windham by court transcription, video tape, and by video and/or telephonic conferencing
for counsel who are unable to attend the deposition. The notice of presentment set for
2/06/2020 at 9:00 AM is stricken. The status hearing and notice of presentment of motion
for rule to show cause [156] remains set for 02/10/2020 at 10:00 AM. The parties shall
inform the Court if the motion for rule to show cause [156] is resolved before 02/10/2020.
Mailed notice (jk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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